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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

                                                :
NATIONAL CREDIT UNION                           :
ADMINISTRATION BOARD,                           :
as Receiver/Liquidating Agent of                :
St. Francis Campus Credit Union,                :
                                                :
      Plaintiff,                                :
                                                :
             v.                                 : Case No.: 0:16-cv-00139 (DWF/LIB)
                                                :     JURY TRIAL DEMANDED
CUMIS INSURANCE SOCIETY, INC.,                  :
                                                :
      Defendant.                                :
                                                :

           MEMORANDUM IN SUPPORT OF MOTION TO COMPEL

      CUMIS Insurance Society, Inc.’s (“CUMIS”) motion to compel (“the motion”),

seeks the production of 58 allegedly privileged emails which directly relate to a June 10,

2015 letter and check which CUMIS sent to the National Credit Union Administration

Board (“the NCUAB”) rescinding the insurance contract on which the NCUAB sued in

January 2016. The letter set forth the grounds for rescission and the check returned the

premiums for the insurance contract. The NCUAB cashed the check and has kept the

funds for more than two years. Those actions are the basis for CUMIS’s defense of

mutual rescission.

      As explained below, the NCUAB waived any privilege1 and the Court should


1
      As a preliminary matter, the emails should be reviewed by the Court in camera to
determine whether any privilege ever attached since the descriptions of the emails in the
NCUAB’s Privilege Log lacks the specificity required to allow CUMIS to determine
whether the emails contain legal advice. (See generally Relevant Parts of Second
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order the production of the emails because the NCUAB should not be permitted to defeat

CUMIS’s defense of mutual rescission by falsely claiming to the Court that it did not

have the advice of counsel when it decided to cash CUMIS’s check and keep the

proceeds. The emails will likely prove that the NCUAB understood CUMIS’s reasons

for rescission and that the NCUAB made a knowing and informed decision—with the

advice of counsel—to cash CUMIS’s check and keep the funds, and, therefore, the

NCUAB cannot sue on the insurance contract.

                                   BACKGROUND

      On or about June 10, 2015, CUMIS rescinded the bond at issue and sent a letter

explaining the basis of its decision to NCUAB attorney Ray Leake. Along with the letter,

CUMIS sent a check in the amount of $18,795 to the NCUAB returning the premiums

paid for the bond. The NCUAB received the check, cashed it, and has kept those funds to

for more than two years.2 CUMIS argued that those facts established that the NCUAB

agreed to mutually rescind the bond and, therefore, judgment should be entered in

CUMIS’s favor. (See Memo. Supp. Mot. Summ. J. [Dkt. #25] 8-9; Reply Memo. Supp.

Mot. Summ. J. [Dkt. #34] at 11.)

       In opposing summary judgment on that issue, the NCUAB argued that it “did not

Amended Priv. Log (“the Log”), Ex. A to Moraites Decl.)
2
       A second duplicate check for the same amount was automatically issued upon the
bond’s rescission by CUMIS’s computer system and sent to the NCUAB in late June
2015. That check was also cashed by the NCUAB and the NUCAB has not returned
those funds. Discovery has confirmed that the NCUAB management and its attorneys
knew the NCUAB had cashed the checks and was holding the funds from both the
original and duplicate check before it filed suit.


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have the benefit of counsel prior to cashing the reimbursement premium check.” (Pl.’s

Resp. to Def.’s Mot. for Summ. J. (“the opposition”) [Dkt. #29] at 17 (emphasis added).)

While the NCUAB had to admit that at least two attorneys, Ray Leake and Bob Roach,

were well aware of the rescission letter and check prior to cashing it,3 the NCUAB,

represented to the Court that “the reimbursement check . . . was thereafter cashed without

the benefit of legal review by counsel or an appointed Agent.” (Id.)

         Based, in part, on these representations, the Court denied CUMIS’s summary

judgment motion. The Court’s decision states:

               Plaintiff argues, however, that the person cashing the check
               did not have the requisite knowledge to accept CUMIS’s offer
               for rescission. The Court concludes that, given this early
               stage, CUMIS has failed to meet its burden of showing that
               Plaintiff accepted CUMIS’s offer for rescission. . . . Given
               the mail-sorting process associated with receivership, CUMIS
               has not demonstrated that either cashing the check or
               retaining the funds constituted an unequivocal acceptance of
               the offer to rescind.

(Mar. 17, 2017 Memo. Op. & Order [Dkt. #43] at 12-13 (citations omitted).)




3
         The NCUAB informed the Court:
                On or about June 10, 2015, CUMIS sent its purported
                rescission  correspondence   together   with    premium
                reimbursement check to Ray Leake, an attorney retained to
                assist with bond claim matters, who forwarded the
                correspondence and reimbursement check to Robert D.
                Roach, Senior Trial Attorney in the NCUA’s Office of
                General Counsel.
    (Opp’n at 17.)


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                               THE EMAILS AT ISSUE

       At the start of discovery, CUMIS requested, inter alia, that the NCUAB produce

all documents relating to the June 10, 2015 rescission letter and check. (See, e.g., Pl.’s

Resps. to CUMIS’s 1st Doc. Reqs., Req. 1, Req. 5, Ex. B to Moraites Decl.) While the

NCUAB did not object to any specific request on the basis of privilege, the NCUAB

included a general privilege objection in its responses, (Ex. B at 1), and

contemporaneously produced a log of documents that are responsive to the requests but

were withheld on the basis of privilege, (Ex. A).

       A review of the Log indicates 43 emails4 were sent or received on June 11 or June

12, 2015, by and between at least four NCUAB attorneys, just one or two days,

respectively, after CUMIS informed the NCUAB it was rescinding the bond and,

critically, ten days prior to the cashing of the check by the NCUAB. An additional two

emails were sent or received about a day after the NCUAB cashed the check on June 23,

2015, and five more emails were sent or received the next week on June 29, 2015.

Finally, an additional eight emails were sent in November 2015, while the NCUAB was

preparing for a December 20155 trial against CUMIS in another case in which the


4
       It appears that there are actually only eight different, distinct emails prior to the
cashing of the rescission check because the NCUAB logged the same emails repeatedly,
as they were held by separate custodians or systems.
5
       In that case, after a 4-day bench trial, the U.S. District Court for the Northern
District of Ohio entered judgment in favor of CUMIS because board members of the
credit union in question learned of the subject employee’s dishonesty prior to the
inception of the bond and, therefore, the bond’s termination provision was invoked at
inception. Nat’l Credit Union Admin. Bd. v. CUMIS Ins. Soc’y, Inc., No. 1:11 CV 1739,
2016 WL 165379 (N.D. Ohio Jan. 14, 2016). The Sixth Circuit recently affirmed the

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NCUAB also cashed a CUMIS rescission check and did not return the money to CUMIS.

In total, therefore, 58 allegedly privileged emails were sent or received prior to the filing

of the present litigation.6

                       THE NCUAB WAIVED ANY PRIVILEGE

       The NCUAB cannot argue that it had no advice from counsel in opposing

summary judgment and then withhold the emails on the grounds that they do contain

advice of counsel. “A waiver of privilege may be implied where ‘through an affirmative

act, the asserting party has placed the protected information at issue by making it

relevant.’” Shukh v. Seagate Tech., LLC, 872 F.Supp.2d 851, 857 (D. Minn. 2012)

(quoting Medtronic, Inc. v. Intermedics, Inc., 162 F.R.D. 133, 134–35 (D.Minn.1995);

see also John Doe Co. v. U.S., 350 F.3d 299, 306 (2d Cir. 2003) (“The crucial issue is not

merely some connection to a judicial process but rather the type of unfairness to the

adversary that results in litigation circumstances when a party uses an assertion of fact to

influence the decisionmaker while denying its adversary access to privileged material

potentially capable of rebutting the assertion.”). “Implied waiver of the privilege will

also be recognized . . . when that party makes factual assertions, the truthfulness of which

may be assessed only by an examination of the privileged communications or


judgment in favor of CUMIS. Nat’l Credit Union Admin. Bd. v. CUMIS Ins. Soc’y, Inc.,
No. 16-3140, — F. App’x —, 2017 WL 2198958 (6th Cir. May 18, 2017). The issue of
mutual rescission was not addressed in the District Court’s opinion or on appeal.
6
      At this time, CUMIS is not seeking allegedly privileged emails that post-date the
commencement of this litigation. Moreover, CUMIS is not seeking any privileged
communications that do not relate to the letter or the decision to cash the refund check
and keep the funds.


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documents.” In re Omnicom Grp., Inc. Sec. Litig., 233 F.R.D. 400, 413 (S.D.N.Y. 2006);

See also Rhone-Poulenc Rorer Inc. v. Home Indem. Co., 32 F.3d 851, 864 (3d Cir. 1994);

United States v. Bilzerian, 926 F.2d 1285, 1293 (2d Cir. 1991) (“The privilege may

implicitly be waived when defendant asserts a claim that in fairness requires examination

of protected communications.”). As the Eight Circuit has held, “[a]t issue waiver is

commonly found . . . when proof of a party’s legal contention implicates evidence

encompassed in the contents of an attorney-client communication.” Baker v. Gen. Motors

Corp., 209 F.3d 1051, 1055 (8th Cir. 2000).

      As noted above, 43 emails were sent or received prior to the NCUAB’s receipt of

the letter or the cashing of the rescission check despite the claim by the NCUAB that it

cashed the check without the “benefit of counsel.” For example, on June 11, 2015—one

day after CUMIS informed the NCUAB’s attorneys that both its June 10, 2015 rescission

letter and its check were coming—an email was sent from longtime NCUAB attorney

John Ianno to NCUAB attorney Ray Leake with copies to NCUAB attorney Rob Roach,

and NCUAB attorney Dianne Salva. (See Ex. A at 1.) The next day, June 12, 2015, an

email was sent by Jennifer Murphy, Director of the National Credit Union

Administration’s Asset Management and Assistance Center, to Elizabeth Martin,

NCUAB Liquidation Analyst, neither of whom are attorneys but both of whom were

senior NCUAB officials. (Id.) In the description column for these emails, however, the

NCUAB states they are an “[e]mail discussion among Bob Roach, Esq., John Ianno, Esq.,

and Ray Leake, Esq., re: rescission letter forwarded to NCUA employees Jennifer

Murphy and Elizabeth Martin.” (Id.) The NCUAB claims both of these emails are


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privileged. If so, both emails contain advice of counsel transmitted by and between the

NCUAB, its attorneys, and NCUAB management prior to the cashing of the check at

issue. These emails are just two examples of allegedly privileged emails that pre-date the

receipt of the letter or the check and which directly contradict the NCUAB’s

misrepresentations made in opposing CUMIS’s motion for summary judgment that the

NCUAB did not have the “benefit of counsel.”7

       As detailed above, the emails are not only relevant to the mutual rescission issue,

they could be vital to CUMIS’s defense. If, for example, NCUAB attorneys advised the

NCUAB that it could not sue CUMIS if it cashed the rescission refund check and kept the

funds, then the emails would prove that there was mutual rescission. Moreover, the

content of the emails, whatever it may be, would certainly help the jury in determining

whether the NCUAB had the requisite “knowledge” to “accept” CUMIS’s offer of

rescission. In fact, the emails are likely the best evidence of what the NCUAB was

thinking when it cashed the checks and decided to keep the funds.




7
       After CUMIS challenged the NCUAB’s claim of privilege, the NCUAB asserted a
claim that the emails are work product created in anticipation of litigation. (See, e.g., Ex.
A at 1.) Obviously, if the NCUAB anticipated litigation one day after it was told that
CUMIS rescinded the bond and the refund check was on its way, the NCUAB understood
CUMIS was rescinding the bond and what the refund check represented. In any event,
the NCUAB cannot continue to credibly claim the check was cashed without “legal
review” or “benefit of counsel,” while simultaneously claiming its lawyers were already
formulating litigation plans before the check was cashed.

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                                    CONCLUSION

       When the NCUAB falsely told the Court that it did not have the advice of counsel

before it cashed CUMIS’s check and decided to keep the proceeds, it waived any

privilege and created this quagmire for itself.8 The Court should order the production of

the 58 emails at issue.




                                         Respectfully submitted,

Date: August 10, 2017                    /s/Nicholas T. Moraites
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                                         Nicholas T. Moraites (Admitted Pro Hac Vice)
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8
        In actuality, the NCUAB first put its communications regarding the rescission
letter and check at issue by suing on a rescinded contract. Even if the communications
were not already at issue, it is indisputable that the NCUAB’s representations in opposing
summary judgment put them directly at issue.

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